RALPH W. GRAY, HENRY L. SHATTUCK, AND FRANCIS C. GRAY, EXECUTORS OF THE WILL OF MARY C. GRAY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Gray v. CommissionerDocket No. 28937.United States Board of Tax Appeals19 B.T.A. 455; 1930 BTA LEXIS 2397; March 31, 1930, Promulgated *2397  The decedent was a residuary legatee (owning a three-sixteenths interest in the residuary estate) of a prior decedent who died within five years from the date of the second decedent and on whose estate a Federal estate tax was paid.  All payments made by the executor of the prior decedent were made from a mixed fund consisting of corpus, gains, and income.  Held that, in determining the value of the residuary estate identifiable as having been included in the prior taxed estate, the residuary estate should be reduced by gains and income during the period of administration.  Henry B. Cabot, Jr., Esq., for the petitioners.  P. M. Clark, Esq., for the respondent.  SMITH *455  This proceeding is for the redetermination of a deficiency in estate tax of the estate of Mary C. Gray, deceased, amounting to $10,032.82.  The petitioners contend that not only is there no deficiency, but that there has already been an overpayment of estate tax in the amount of $1,330.88, which should be refunded.  They allege that the respondent erred in refusing to allow as a deduction from the gross estate $189,395.05 cash received as constituting a part of the gross*2398  estate of a person who died within five years prior to the death of the decedent and on whose estate a Federal estate tax was paid.  Petitioners claimed and were allowed the deduction from the gross estate of the value of certain securities received from the estate of the prior decedent.  The deduction of the cash received from the estate of the prior decedent is the only question in issue.  *456  FINDINGS OF FACT.  The petitioners are the executors of the will of Mary C. Gray, who died on June 13, 1923, and who had a three-sixteenths interest in the residuary estate of Ellen Gray, who died in New York on December 23, 1921, and on whose estate an estate tax, levied under the provisions of the Revenue Act of 1921, was paid.  Petitioners duly filed a Federal estate-tax return for the estate of Mary C. Gray, which showed a gross estate of $753,934.39 and deductions of $265,720.14, leaving a net estate of $488,214.25.  Among the deductions claimed was $183,376.35 for property previously taxed in the estate of Ellen Gray.  This deduction was disallowed by the Commissioner in the audit of the return.  The Commissioner subsequently allowed the deduction of $18,495 of the amount*2399  claimed, which represented the value at the prior decedent's death of two lots of stock distributed by the executor of the estate of Ellen Gray to the executors of the estate of Mary C. Gray.  Upon her three-sixteenths interest in the estate of Ellen Gray, Mary C. Gray in her lifetime received $172,500 cash.  All of this money was deposited in a special account with the New England Trust Co., Boston, Mass., and such sums were the only sums deposited in that account.  During her life she invested part of the cash in this account in bonds.  At her death $133,603.59 of the $172,500 received from Ellen Gray's estate had been invested in bonds.  The balance of $38,896.41 remained on deposit in the special account.  After her death the executors of the estate of Mary C. Gray, the present petitioners, received two lots of stock from the executor of the estate of Ellen Gray, which stock was included in the estate-tax return of Ellen Gray at a value of $18,495 and included in the estate of Mary C. Gray at a value of at least $18,495.  Petitioners also received cash distributions from the executor of the estate of Ellen Gray on March 3, 1924, of $7,008.83 and on May 14, 1924, of $9,886.22, *2400  which last named amount was in final liquidation of Ellen Gray's estate.  The executors of Mary C. Gray deposited the two amounts of money so received in the special account of Mary C. Gray above referred to at the New England Trust Co.  The cash received by Mary C. Gray and her executors after her death from the executor of Ellen Gray in respect of the three-sixteenths interest of Mary C. Gray in the residuary estate of Ellen Gray totaled $189,395.05.  This cash, or bonds purchased therewith, plus the two lots of securities above referred to (included in the estate-tax return of Ellen Gray at a value of $18,495), were included in the gross estate of Mary C. Gray at the figure of $209,452.16.  The cash in the amount of $189,395.05 or the securities purchased therewith *457  by Mary C. Gray was included in the estate-tax return of the latter at a value in excess of $189,395.05.  The estate of Mary C. Gray, excluding the property received from the estate of Ellen Gray, was more than sufficient to meet all expenses of administration, debts, charitable bequests, etc.  No part of the property or cash received from Ellen Gray's estate was used by the executors of Mary C. Gray to pay*2401  expenses deductible under section 403(a)(1) or legacies deductible under section 403(a)(3) of the Revenue Act of 1921.  The estate-tax return of Ellen Gray showed the gross estate as follows: Real estate$85,000.00Stocks and bonds1,221,683.37Mortgages, notes, cash, and insurance113,056.11Other miscellaneous property13,016.50Powers of appointment18,667.01Total1,451,422.99The amount of the gross estate determined on review by the Commissioner was as follows: Real estate$85,000.00Stocks and bonds1,225,133.13Mortgages, notes, cash, and insurance113,056.11Other miscellaneous property14,331.50Powers of appointment18,697.13Total1,456,217.87The executor of the estate of Ellen Gray, namely, New York Life Insurance &amp; Trust Co. (now Bank of New York &amp; Trust Co.), received the personal property belonging to Ellen Gray and proceeded to liquidate it.  Certain of the securities received were distributed in kind to the beneficiaries but most of them were sold for cash on a rising market and the cash received in excess of that required to pay debts, administration and funeral expenses was distributed in accordance with*2402  the terms of the will.  All of the cash which came into the hands of the executor was the $113,056.11 cash on hand at date of death and the proceeds from the sale of the stocks and bonds included in the estate-tax return of Ellen Gray at a value of $1,225,133.13.  Upon the stocks and bonds sold at a price in excess of the value at which they were included in the estate-tax return the executor realized a profit of $211,598.24, and upon those sold at less than such value a loss of $1,595.70 was sustained.  In the course of the administration of the estate the executor received income from interest and dividends of $82,639.36 and a profit from the sale of stock dividends of $2,979.50.  The net gains and income of the estate during the period of settlement were, therefore, $295,621.40.  *458  At the time the executor of the estate of Ellen Gray took charge of the personal estate of Ellen Gray it withdrew cash on deposit at other banks to the credit of Ellen Gray and deposited all of it in a single bank account with the New York Life Insurance &amp; Trust Co.  All cash thereafter collected by the executor from the sale of securities, from interest and dividends, and from all other sources*2403  was deposited in this bank account.  All payments of debts, funeral and administration expenses and all distributions to legatees were made from this mixed fund without reference to whether the payment was from principal or from income.  It is impossible for the executor to tell whether any particular payment made by the executor of the estate of Ellen Gray was entirely from the corpus of the estate of Ellen Gray or partly from corpus and partly from income.  The residuary estate of Ellen Gray consisted of certain shares of stock distributed to the residuary legatees of a value at the date of distribution of $112,160 and included in the estate-tax return of Ellen Gray at a value of $98,640, and of cash distributed to the residuary legatees in the amount of $1,010,106.88.  In the course of the administration specific legacies of cash were paid in the amount of $265,000.  Debts paid amounted to $11,566.84 and funeral and administration expenses to $203,948.44.  OPINION.  SMITH: The petitioners are the executors of the estate of Mary C. Gray who had a three-sixteenths interest in the residuary estate of Ellen Gray, who died less than five years previously and on whose estate an*2404  estate tax was paid under the provisions of the Revenue Act of 1921.  Upon such interest Mary C. Gray received $172,500 cash during her lifetime and after her death her executors received two lots of stock of a value at the date of distribution of $21,030, but of a value at the date of the death of Ellen Gray of $18,495, at which value they were included in the estate-tax return of Ellen Gray.  The respondent has allowed the deduction of $18,495 from the gross estate in the estate-tax return of Mary C. Gray under section 403(a)(2) of the Revenue Act of 1921 in respect of the receipt of such stock.  The executors of Mary C. Gray, the petitioners herein, also received cash distributions from the executor of the estate of Ellen Gray on March 3, 1924, of $7,008.83 and on May 14, 1924, of $9,886.22, which last-named amount was in final liquidation of Ellen Gray's estate.  The petitioners claim the right to deduct from the gross estate of Mary C. Gray under section 403(a)(2) of the Revenue Act of 1921, as prior taxed property, not only the $18,495 allowed by the respondent as a deduction, but also the total *459  amount of cash received by Mary C. Gray during her lifetime ($172,500), *2405  and the cash received by the executors after her death ($16,895.05), from the estate of Ellen Gray, or a total of $189,395.05.  The respondent has disallowed the deduction of the entire $189,395.05 in question upon the ground that the executor of the estate of Ellen Gray made these payments from a mixed fund consisting of corpus, gains, and income and that it is impossible to determine that any portion of the cash in question came from the corpus of the estate of Ellen Gray.  All of the cash received by Mary C. Gray and by her executors from the estate of Ellen Gray was deposited in a special account in the New England Trust Co., Boston, Mass., and such cash or bonds purchased therewith was kept separately from the balance of the estate of Mary C. Gray and the value thereof was included in the estate-tax return of Mary C. Gray at an amount in excess of $189,395.05.  The estate of Mary C. Gray, excluding all property received from the estate of Ellen Gray, was more than sufficient to meet all expenses of her estate and no part of the property and cash received from Ellen Gray's estate was used by the executors of Mary C. Gray to pay expenses deductible under section 403(a)(1) or legacies*2406  deductible under section 403(a)(3) of the Revenue Act of 1921.  The only question for our determination in this proceeding is whether any part of the $189,395.05 cash received from the estate of Ellen Gray is identifiable as having been included in the gross estate of Ellen Gray and, if any part, the amount thereof.  The provision of law applicable to the issue in this proceeding is section 403 of the Revenue Act of 1921, which, so far as material, reads as follows: That for the purpose of the tax the value of the net estate shall be determined - (a) In the case of a resident, by deducting from the value of the gross estate - * * * (2) An amount equal to the value of any property forming a part of the gross estate situated in the United States of any person who died within five years prior to the death of the decedent where such property can be identified as having been received by the decedent from such prior decedent by gift, bequest, devise, or inheritance, or which can be identified as having been acquired in exchange for property so received: Provided, That this deduction shall be allowed only where an estate tax under this or any prior Act of Congress was paid*2407  by or on behalf of the estate of such prior decedent, and only in the amount of the value placed by the Commissioner on such property in determining the value of the gross estate of such prior decedent, and only to the extent that the value of such property is included in the decedent's gross estate and not deducted under paragraphs (1) or (3) of subdivision (a) of this section.  This deduction shall be made in case of the estates of all decedents who have died since September 8, 1916.  *460  In the instant proceeding the distributions of cash to Mary C. Gray by the executor of the estate of Ellen Gray and also the distributions of cash from the same source to her executor after her death were made from commingled funds.  We have heretofore had occasion several times to pass upon cases involving payments from commingled funds.  In , the facts were that the petitioner commingled funds of the estate derived from the sale of prior taxed property with funds derived from other sources, and made expenditures therefrom deductible under paragraph (1) of section 403(a) of the Revenue Act of 1921. *2408  The funds from other prior taxed property were not sufficient to meet all such expenditures as made, but the taxable estate at decedent's death and at all times thereafter was of sufficient value to cover all charges against it, deductible under paragraphs (1) and/or (3) of said section.  We held that the deduction allowable under paragraph (2) of said section for prior taxed property should not be reduced to any extent on account of deductions allowed and allowable under paragraph (1).  It was our opinion that to the extent that the property of the decedent, other than previously taxed property, came into the hands of the executor and was subject to the payment of debts, it might be allocated to that purpose without considering whether the executor made payments out of such funds or out of funds realized from the sale of property received from the estate of the prior decedent.  The deduction under paragraph (2) of section 403 was measured by values and earmarking of the property was thought to be unnecessary.  In , we held that the proviso contained in subdivision (2) of section 403, viz. - this deduction shall be allowed*2409  * * * [a] only in the amount of the value placed by the Commissioner on such property in determining the value of the gross estate of such prior decedent, and [b] only to the extent that the value of such property is included in the gross estate and not deducted under paragraphs (1) or (3) of subdivision (a) of this section, was not concerned with the property from which payment is made.  The proviso relates to value.  The deduction is to be allowed to the extent that the value of such property is included in decedent's gross estate and not deducted in paragraphs (1) and (3).  We are, therefore, of the opinion that the fact that Mary C. Gray and her estate received the cash here in question from the estate of Ellen Gray from a fund consisting of corpus, gains, and income of the estate of Ellen Gray is not sufficient in itself to render it impossible to identify a part of the cash received as having been included in the corpus of the estate of Ellen Gray and therefore included in the gross estate returned for Federal estate-tax purposes.  *461  Petitioners contend that $173,725.24 of the $189,395.05 is identifiable as having been included in the gross estate of Ellen*2410  Gray.  In making this contention they resort to the presumption that the executor of Ellen Gray paid the debts of her estate and the expenses of administration, etc., from income to the extent of income on hand at the time the several payments were made and that in making distributions to the beneficiaries the corpus was availed of to the extent that corpus cash was on hand to make the payments.  They therefore attempt to make an analysis of the accounts of the executor of Ellen Gray and divide the cash received by it into corpus cash and income cash.  In our opinion the method of approach resorted to by the petitioners is incorrect.  Mary C. Gray was not bequeathed specific property by Ellen Gray.  Under the will of the latter, Mary had a three-sixteenths interest in the residuary estate of Ellen.  This residuary estate was a fund belonging to the estate of Ellen Gray after all specific legacies and all debts and expenses had been paid.  It might consist of corpus, gains, and income.  There is no way of identifying it as having been included in the gross estate of Ellen Gray at any amount in excess of the remainder obtained by deducting from the net residuary estate the income and*2411  gains of the estate during the period of administration.  The record of this action shows that there was distributed to the residuary legatees up to the date of the death of Mary C. Gray $920,000 of which amount Mary C. Gray received $172,500.  Subsequent to her death there was distributed to her executors $16,895.05 in complete liquidation of the residuary estate of Ellen Gray.  This was three-sixteenths of the cash distributed to all the residuary legatees.  The total amount received by all the residuary legatees subsequent to Mary's death was $90,106.88.  We therefore reach the conclusion that the cash distributed to the residuary legatees both before and after Mary's death amounted in all to $1,010,106.88.  During the period of administration, the executor of Ellen Gray sold certain securities at a profit, based on the value at which they were included in the estate-tax return of $211,598.54.  Interest and dividends were received to the amount of $82,639.36 and a profit was realized on a sale of stock dividends of $2,979.50.  The total gain and income of the estate was therefore $297,217.40.  If the residuary legatees were the persons beneficially entitled to receive this income*2412  and these profits (and the record does not establish the contrary), it would appear that $712,889.48 of the cash distributed to the residuary legatees represents the amount which can be identified as received by the residuary legatees from the conversion into cash of securities taxed to the estate of Ellen Gray at that value.  Mary C.  *462  Gray received three-sixteenths of this amount, or $133,666.77.  We are of the opinion that this amount is deductible from the gross estate in the estate-tax return of Mary C. Gray under section 403(a)(2) of the Revenue Act of 1921, in addition to the $18,495 already allowed by the respondent.  Reviewed by the Board.  Judgment will be entered under Rule 50.